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UNITED STATES DISTRICT COURT
SOUTHER}I DISTRICT OF NEW YORK


ANIKA EDREI,       et al.,                                  PLAINTIFFS'FIRST SET
                                                            OF INTERROGATORIES
                         Plaintiffs,                        AND DOCUMENT
                                                            DEMANDS
       -against-
                                                            16-cv-06152 (JMF)

                         Defendants.




               PLAINTIFFS' FIRST SET OF INTERROGATORIES
                        AND DOCUMENT DEMANDS

       Pursuant to Rules 26,33, and34 of the Federal Rules of Civil Procedure ("Federal

Rules") and Local Rules 26.2 and 26'3 of this Court (i'Local Rule" or "Local Rules")'

Plaintiffs hereby request that Defendants serve upon the undersigned sworn written

answers to each of the interrogatories set forth below and produce for inspection and

copying the documents requested below to the attention of Elena L. Cohen, 1639 Centre

St, Suite 216, Ridgewood,    NY I1385, within 30 days after   service hereof.

       These interrogatories and document requests are continuing.     If   at any time after


service of answers hereto, and prior to the trial of this action, Defendants obtain or

become aware of additional information pertaining to any of these interrogatories, the

disclosure of which may be required pursuant to Rule 26(e) of the Federal Rules,

Defendants shall, within 30 days, and in no event later than five days before trial, serve

upon the undersigned supplemental sworn written answers setting forth such additional

information.

                                       INSTRUCTIONS
            l.        Furnish all information available to you, including information in the

possession, custody, or control        ofyour attorneys, accountants, investigators, experts,

representatives, or other agents.

            2.        If you claim any ambiguity, vagueness, or overbreadth in interpreting     an

interrogatory, document demand, or any applicable definition or instruction, respond to

the portion you deem appropriately specific and broad, and set forth in a part of your

written response the specific language you deem to be vague or ambiguous or overbroad,

as   well   as the interpretation(s) you use in responding.


            3.        If the answer to all or any part of an interrogatory is not presently known

or available, include a statement to that effect and furnish any information currently

known or available and a description of the source of information that was once known or

available which could have been used to respond to the interrogatory.

            4.        For each person identified who is not an NYPD agent,please provide that

person's full name, business and home addresses, telephone numbers, and emails.

            5.        For each person identified who is an NYPD agent, set forth separately

their true, full and correct name, shield number, command on the date of the Incident

current command, and supervisors on the date of the Incident.

            6.        Produce all documents described, in their entirety, along with any

attachments, drafts, and non-identical copies.

            7.        If any responsive document   has been lost, destroyed, or is otherwise

unavailable, provide:

                 a.   The name(s) and title(s) of the person(s) who searched for the document.
                 b.   A statement of the specific efforts made by that person to locate the
                      document, and the locations searched.




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             c.   A statement upon actual knowledge, or upon information and beliefi
                  concerning what happened to the document, or a statement that the person
                  has no explanation for its non-existence.

             d.   The specific expected chain of custody of the document from the time of
                  its creation to its expected storage place. If the specific chain of custody is
                  unknown, provide the customary chain of custody for a document of its
                  type.

             e.   If the document was destroyed, the date of destruction,    as   well   as the
                  relevant Retention Schedule, Records Disposition Request, and/or Record
                  Disposal Application related to the document.

       8.         If you withhold any document(s) or information by reason of a claim of

privilege, state with specificity the information required by Local Civil Rule 26.2.

Assertions of privilege made without an appropriately fulsome statement pursuant to

Local Civil Rule 26.2 will be considered non-responsive.

       g.         Pursuant to Fed. R. Civ. P. 33(b), the interrogatories must be answered by

the party to whom they are directed (in the case of the City ofNew York, by any officer

or agent of the City of New York); each interrogatory must be answered separately and

fully in writing under oath; and the person who makes the answers must sign them.

        10.       Unless otherwise specified, the relevant time period covered by each

interrogatory or document demand is 2003 to the present.

        I   1.    When called upon to identif, an event or events, provide at least the event

name(s); organizer(s); date, time, borough; and any identifying numbers or other

designations utilized by the NYPD internally to identify each such event.

                                          DEFINITIONS

        l.        These definitions incorporate by reference the uniform definitions set forth

in Local Civil Rule 26.3.




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                                                  )
        2.      The term "lncident" refers to the Plaintiffs' participation in the December

5,2014 protest, and the related events that occurred at around l:00AM on December 5,

2014,leadinq up to and including the individual Defendants' uses of an LRAD in the area

of 57th Street between Madison and Park Avenues at approximately      tha.t   time, as

described in the FAC and depicted in the videos incorporated by reference therein.

        3.      "City'and'NYPD"      shall each be construed to include each other, such

that a request a request for the names of certain New York City Police Department

('NYPD") employees, e.g., should be construed to include employees of any agency of

the City of New York.

        4.      "Personal Knowledge" with respect to a condition, event, or fact is defined

as knowledge derived    from first-hand observation of or other direct knowledge of the

condition, event, or fact.

        5.      "Personal Knowledge" with respect to the actions or conduct of a

particular person is defined as first-hand observation of that person, as distinguished from

(a) first-hand observation of a group of persons in or around the person's general vicinity,

and (b) information relayed by another member of the NYPD or any other third party.

       6.       "LRAD Corporation" shall    be construed to include its predecessor, the

American Technology Corporation.

       7.      The phrase "lndividual Defendants" refers to the individually named

Defendants in the case.




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                                      INTERROGATORIES

         l.      Identify each person who has Personal Knowledge of the conduct of any

Plaintiff or Individual Defendant between approximately I I :30PM on Decemb er 4,2014

and 2:00AM on December 5,2014-

         Z.      Identifu each person who was arrested at around the intersection of 57th

Street and Madison Avenue in Manhattan at around 1:00AM on December 5,2014, as

described in flll I I l-114 of the First Amended Complaint ("FAC") in this matter and all

records relating to those arrests.

         3.      Identify each person who witnessed the events leading up to the arrests

described in flfl I   l1-l   14 of the FAC.

         4.      Identify each NYPD officer who participated in each arrest described in    lJfl


1l   l-l l4 of the FAC.
            5.   Identify each person who witnessed each arrest described in fllJ 1l   l-lla of

the FAC, including, but not limited to, any person who witnessed protesters "surround"

the arresting officers or "come within feet of the arrests."

            6.   Identify each NYPD officer who participated in keeping protesters at a

distance as the arrests were taking place at around the intersection of 57th Street and

Madison Avenue in Manhattan at around l:00AM on December 5,2014, including, but

not limited to, each NYPD officer who ordered protesters to "get back" or "get out of the

 street."

            7.    Identify each person who witnessed any objects that were thrown toward

 the scene of the arrests or toward police, including, but not limited to, bottles or garbage,




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at around the intersection of 57th Street and Madison Avenue in Manhattan at around

l:00AM on December 5,2014.

        8.       Identify each NYPD officer who deployed pepper spray at around the

intersection of 57th Street and Madison Avenue in Manhattan at around l:00AM on

December 5,2014, as described in fl I 17 of the FAC.

        9.       Identify each NYPD officer who gave warning or notice before pepper

spray was deployed at around the intersection of 57th Street and Madison Avenue in

Manhattan at around l:00AM on December 5,2014.

        10.      Identify each NYPD officer or vehicle physically in the roadway as the

Individual Defendants operated the LRAD at around l:00AM on December 5,2014.

        I   l.   Identify each person, aside from any NYPD officer, who was physically in

the roadrvay at or around 57th Street and Madison Avenue as the Individual Defendants

operated the LRAD at around     l:00AM on December 5,2014.

        12.      Identify each person who has Personal Knowledge of any event or

circumstance that Defendants claim justified the Individual Defendants' uses of the

LRAD at around the intersection of 57th Street and Madison Avenue in Manhattan at

around l:00AM on December 5-2014.

        13.      Identify the spokesman for the NYPD who is quoted in the December 12,

2014 New YorkTimes article by Colin Moynihan entitled Concerns Raised Over       Shrill

Device New York Police Used During Garner Protest,as described in fl     2l of the FAC.
        14.      Identify each lawsuit in which New York Police orders, even through

bullhorns, have been subject to courtroom challenges by protesters who claim they could

not hear police directives.




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       15.     Identify each event or incident in which protesters "chanted over" New

York Police orders, even through bullhoms.

        16.    Identifr the author(s) of the DCU LRAD Briefing.

        17.    Identify the people who were involved in planning for and/or designing

the 2010 LRAD tests at Orchard Beach in the Bronx that are referred to in the DCU

LRAD Briefing.

       18.     Identify each person who was present at each LRAD-related test,

including, but not limited to, the 2010 LRAD tests at Orchard Beach in the Bronx.

        19.    Identify the author(s) of, and all person(s) who provided information in

connection with the creation of, and all records consulted or relied on in creating, the

records described in !j a(ii) and item numbers 5 and 8 in Exhibit A to the Stipulation and

Order of Settlement and Discontinuance in Keegan Stephan v. NYPD,NY State Supreme

Courl Index No. 101285 /2016 (the "Stephan Order") (which were produced in this

litigation bearing Bates Nos. P718 (D95) andP761-777).

        20.    Identify all person(s) who conducted the alleged "diligent search(es)" in

response to the December   21,201I FOIL request made by Plaintiff Keegan Stephan

(NYPD LBF # 11PL107361), including, but not limited to, those that are referred to in

the NYPD's    April 27,2012 letter to Katherine Bromberg    at the New   York Civil Liberties

Union from NYPD Records Access Officer ("RAO") Lt. Richard Mantellino; and in the

September 11,2012 letter to Ms. Bromberg from NYPD Records Access Appeals Officer

("RAAO") Jonathan David.

        21.     Identify all person(s) who conducted the alleged "diligent search(es)" in

response to the December 12,2014 FOIL request made by Plaintiff Keegan Stephan




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(NYPD LBF #14PL10945), including, but not limited to, those referred to in the NYPD's

December 15,2014 (RAO); December 19,2014 (RAO);                   April27,20l5 (RAO); May         18,

2015 (RAAO);August 17,2015 (RAO); October 28,2015(RAAO); December 3,2015

(RAo); January 11,2016 (RAAO); and April 13,2016 (RAAO) letters to Gideon oliver;

and those referred to in fl 4 of the Stephan Order.

          22.     Identify the author(s) of   -   including any person(s) who revised   -   the

documents produced by Defendants as part of their initial disclosures bearing Bates Nos.

D7 0-7 3, D074-080, and D I 64-17 5.

          23.     For any Defendant or NYPD third-party witness identified by Defendants

as part   of their initial disclosures or interrogatory responses, who appears in video ofthe

Incident disclosed by any party, identify each appearance of that Defendant or NYPD

third-party witness in each video in which they appear by beginning and ending

timestamp(s) of each appearance.

          24.     Identify by caption and docket number each lawsuit in which       a Defendant

was alleged to have engaged in excessive force, assault, battery, or violation of any

federal or state constitutional right., as well as any lawsuits involving claims potentially

suggesting or involving false or misleading statements or other acts of dishonesty.

          25.     Identify:

             a. All events in connection with which the NYPD     deployed an LRAD or
                  LRADs, including but not limited to, those described in the FAC; the
                  December 12,20l4lefter attached as Exhibit B to the FAC; the DCU
                  LRAD Briefing; and Defendants' initial disclosures;

             b.   Each event in connection with which the NYPD used an LRAD or LRADs
                  to communicate a message or disseminate information or directions,
                  including, but not limited to, protests or emergencies (such as terrorist
                  attacks, weather emergencies, evacuation situations, hostage negotiations,
                  standoffs with barricaded suspects, or other calamities); and



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              c.   Each event in connection with which the NYPD utilized an LRAD's
                   deterrent/area deniallalarm/warning function, including, but not limited to,
                   protests.

                                   DOCUMENT REQUESTS

         1.        Produce all documents identified in responding to the interrogatories

above.

         2.        Produce any To/From Memorandum/a; Unusual Occurrence Report(s);

and/or U.F. 49(s) related to the Incident.

         3.        Produce all internal NYPD communications related to the lncident,

including, but not limited to, all e-mails related to the lncident; all text messages related

to the Incident; all other electronic communications related to the Incident; and all

records regarding telephone calls made or received by the Individual Defendants related

to the Incident.

         4.        Produce all audio recordings pertaining to radio runs and/or 911 calls or

any recorded police communications related to the Incident, including, but not limited to,

NYPD Citywide Two, and any other relevant NYPD "Citywide" or other radio

recordings.

         5.        Produce all SPRINT Reports related to the Incident.

         6.        Produce documents sufficient to explain or interpret the "Event

Chronology" produced by Defendants bearing Bates Nos. D006-012 and the "Event

Summary" produced by Defendants bearing Bates Nos. D013'026, such as user manuals

or training materials related to the "lA'tretDispatcher" system.




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        7.       Produce all videos related to the Incident, including, but not limited to,

any NYPD Technical Assistance Response Unit         ("TARU") videos.

        8.       Produce any Request for Detail or TolFrom (Memorandum) or other

documents regarding potential police plans or resources (such as, but not limited to,

vehicles and LRADs) to be deployed in response to potential protests in response to the

Staten Island Grand Jury's decision regarding whether to indict NYPD Officer Daniel

Pantaleo in connection with the death of Eric Garner.

        9.       Produce documents reflecting the NYPD resources that were actually

deployed in connection with policing of the December 4.5,2014 protest described in the

FAC, including, but not limited to, "204s" (see, e.g., Stephan Order, fl 4(iD), Operations

Unit Detail Section records; Detail Breakdown Sheet forms and other Detail Breakdown

records; Detail Roster (PD 417-96) forms; "Who's Who" documents; "Detail Overview";

and/or "Force Figures" documents.

        10.      Produce the Command Log from any THV or Mobile Command Post that

was used in connection with the Incident.

        I   l.   Produce all documents including statements made by Defendants or other

witnesses related to the Incident.

        12.      Produce any After-Action Report(s) or other documents discussing,

evaluating, or critiquing police performance related to the Incident, including, but not

limited to, any such documents related to the Individual Defendants' LRAD uses.

        13.      If any non-NYPD officer   was injured as a result of the Incident, produce

any AIDED Report, Medical Treatment of Prisoner Form, Central Booking Medical




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Screening Form, Ambulance Call Report, Computer Aided Dispatch, FDNY Pre-Hospital

Care Report, and other documents related to each such injury.

        14.     If Defendants claim   any NYPD officer was injured as a result of the

Incident, produce any related Line of Duty injury paperwork, AIDED reports, witness

statements, and medical records related to each such injury.

        15.     Produce copies of Memo Book entrieslDaily Activity Report/Daily

Activity Record/Investigator's Daily Activity Report or other, similar record from   each


Individual Defendant and each NYPD witness to the events leading up to the arrests and

the Individual Defendants' LRAD deployments and/or the arrests and/or the Individual

Defendants' LRAD deployments.

        16.     Produce all arrest processing paperwork related to the arrests described in

the FAC related to the Incident, including, but not limited to, related: Memo Book

entries; OLBS Reports; OLBS Arrest Worksheets (PD 244-159) (including any scratch

and/or handwritten OLBS Arrest Worksheets); and Complaint Reports (PD 313-152) and

Complaint Report Worksheet(s) (PD 313-152A).

        17.     Produce all documents provided to the Office of the District Attomey    of

New York County ("DANY") related to those arrests.

        18.     Produce all New York City Criminal Coun accusatory instruments related

to those arrests.

        19.     Produce all documents reflecting the number of protesters who were

present at or around the intersection of 57th Street and Madison Avenue in Manhattan at

around 1 :00AM on December 5,2014.




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       20.     Produce all documents reflecting the number and types of NYPD officers,

vehicles, and other resources present at or around the intersection of57th Street and

Madison Avenue in Manhattan at around 1:00AM on December 5,2011.

       21.     Produce all documents showing or reflecting the vehicular and/or

pedestrian traffic conditions, including any actual or alleged blockage of vehicular or

pedestrian traffic, at or around the intersection of 57th Street and Madison Avenue in

Manhattan at around 1:00AM on December 5,2014.

       22.     Produce all documents reflecting the need for or purpose of the use of the

LRAD u'hen the Individual Defendants operated the LRAD's deterrenU'area

denial/alarm/warning function at around the intersection of 57th Street and Madison

Avenue in Manhattan at around l:00AM on December 5,2014.

       23.     Produce all documents documenting or reflecting the amount of force used

by the Individual Defendants when they operated the LRAD's deterrent/area

denial/alarm/warning function at around the intersection of 57th Street and Madison

Avenue in Manhattan at around l:00AM on December 5,2014.

       24.     Produce all documents documenting or reflecting the severity of any

security problem or risk presented by the protesters when the Individual Defendants

operated the LRAD's deterrent/area denial/alarmlwarning function at around the

intersection of 57th Street and Madison Avenue in Manhattan at around l:00AM on

December 5,2014.

       25.    Produce all documents documenting or reflecting the threat reasonably

perceived by the officer when the Individual Defendants operated the LRAD's




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deterrent/are   a deniallalarm/warning function at around the intersection of 57th Street and

Madison Avenue in Manhattan at around l:00AM on December 5,2014.

         26.      Produce all documents documenting or reflecting whether anyone was

actively resisting when the Individual Defendants operated the LRAD's deterrent/area

denial/alarm/warning function at around the intersection of 57th Street and Madison

Avenue in Manhattan at around l:00AM on December 5,2014.

         27.       Produce all documents related to the Individual Defendants' LRAD uses

at around the intersection of 57th Street and Madison Avenue in Manhattan at around

1   :00AM on Decemb er 5, 2014, including, but not limited to, any such records reflecting

the duration of time that the LRAD was used, the volume at which the LRAD was used,

and/or how far the LRAD was from persons other than the Individual Defendants.

          28.     Produce all documents documenting or relating to the NYPD officer or

officers' deployment of pepper spray, or the Individual Defendants' LRAD uses of the

LRAD, at around the intersection of 57th Street and Madison Avenue in Manhattan at

around l:00AM on December 5,2074, including, but not limited to, any NYPD use            of

force records.

          29.     Produce all documents reflecting the circumstances leading up to or

reasons or justifications for the Individual Defendants' LRAD uses at around the

intersection of 57th Street and Madison Avenue in Manhattan at around 1:00AM on

December 5,2014.

          30.     Produce all document(s) created and/or maintained as part of any

supervision related to or investigation into the IndividualDefendants'December 5,2014

LRAD uses, including but not limited to, any such documents created by or forwarded to




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the Commissioner's Office, Chief of Department, Disorder Control Unit, Internal Affairs

Bureau, Deputy Commissioner for Public Information, or any other aspect of the NYPD.

        31.     Produce all documents the author(s) of the DCU LRAD Briefing consulted

or relied on in creating it.

        32.     Produce all other records, including memoranda, e-mails and other

communications, regarding the 2010 DCU LRAD briefing and/or DCU LRAD tests that

are discussed in the 2010 DCU    LRAD briefing.

        33.     Produce the calibration tests that are refened to in the DCU     LRAD

Briefing.

        34.     Produce copies of any manual(s) related to each sound meter that was used

in connection with the DCU LRAD tests.

        35.     Produce all documents reflecting the nature and extent ofthe alleged

"diligent search(es)" conducted in response to the December 21,201 I and December          12,

2014FOLL requests made by Plaintiff Keegan Stephan, including, but not limited to, all

relevant e-mails and other internalNYPD communications.

        36.     Produce all documents consulted or relied on in authoring and/or revising

the training materials produced by Defendants as part of their initial disclosures bearing

Bates Nos. D5 I -63, D64 -69, D7 0-7 3, D7 4-80, and D | 64-17 5.

       37.      Produce all documents reflecting whether the Individual Defendants

received any training described in the training materials produced by Defendants as part

of their initial disclosures bearing Bates Nos. D5l-63,D64-69,D70-73,D74-80, and/or

D164-175; or any other LRAD-related training; and,      if   so, which training(s), and when.




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       38.    Produce all documents describing or relating to the "actual" LRAD

applications/ "Successful Uses" described in the document produced by Defendants

bearing Bates Nos. D072 and Dl69.

       39.     Produce all documents documenting instances in which the

BureaulBorough Chief or the Commanding Officer of the Disorder Control Unit

authorized LRAD employment.

       40.    Produce all memo book entries documenting the usage time, duration,

message or tones used and effectiveness of LRAD uses.

       41.    Produce any other records documenting or discussing the effectiveness     of

LRAD uses.

       42.     Produce all documents, including digital recordings and memo book

entries, documenting the intended or actual content of messages to be communicated, or

that were communicated, over LRADs, including, but not limited to, any messages that

the NYPD has characterized as "dispersal orders" or related warnings utilized at

demonstrations.

       43.     Produce maintenance records (including any related logs) for the LRAD

100x device that the lndividual Defendants used in connection with the Incident,

covering the time period from the date the NYPD first obtained the device through the

end of December of 2014.

        44.    Produce all documents regarding any LRAD demonstrations conducted

within the NYPD or involving the NYPD (including any such demonstrations conducted

by the LRAD Corporation).




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       '   45.   Produce all documents regarding meetings with representatives of the

LRAD Corporation relating to LRADs, including, but not limited to, all records regarding

the November 16,201I meeting between NYPD representatives and LRAD Corporation

Vice President of Business Development Scott Stuckey, including, but not limited to, all

records regarding the reason(s) or and/or agenda of the meeting, who was present, what

was discussed, and the contents of the demonsirations and training that were part of the

meeting.

           46.   Produce all LRAD Position Statements, including all LRAD Use Position

Statements (such as the document produced by Defendants bearing Bates No. Dl38-140)

and LRAD Corporation "Memorandum for Record" documents (such as the document

produced by Defendants bearings Bates No. P935-938).

           47.   Produce all documents regarding LRADs or LRAD uses in any way,

including, but not limited to, the December 5,2014 LRAD uses.

           48.   Produce all documents from the LRAD Corporation regarding LRADs,

including, but not limited to, e-mails, Internet links, PowerPoint or other presentations,

Equipment Manuals, Product Sheets, Product Guides, White Papers, Marketing Sheets,

Manufacturer's Guidelines, Manufacturer's Warnings, maintenance instructions, LRAD

Use Position Statements, and all documents marketing any LRAD product(s).

           49.   Produce all NYPD e-mails containing the word      .'LRAD", including, but

not limited to, all such e-mails referred to as having been identified in fl 4(iv) of the

Stephan Order.




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       50.     Produce all NYPD internal communications, including electronic

communications such as e-mails and text messages, regarding LRADs or LRAD uses in

any way, including, but not limited to, the December 5,2014 LRAD uses'

       51.     Produce all NYPD press releases or other statements to the press regarding

LRADs or LRAD uses.

        52.    Produce all press or news clips, social media postings, or Internet links

gathered or received by the NYPD, including, but not limited to, the Deputy

Commissioner for Public lnformation ("DCPI") and the Intelligence Division, regarding

LRADs or LRAD uses.

       53.     Produce all press inquiries, including, but not limited to, requests for

comment or interviews made to the NYPD, including, but not limited to, DCPI, regarding

LRADs or LRAD uses; and NYPD responses thereto, including, but not limited to, any e-

mails, comments, or interviews.

        54.     Produce all documents regarding non-NYPD LRAD uses, including, but

not limited to, any such uses that resulted in injuries or litigation, including, but not

limited to, any such documents regarding: (a) the Pittsburgh, Pennsylvania Police

Department's LRAD uses during the G20 Summit in 2009 and/or the related Piper

lawsuit described in flfl 85-92 of the FAC; Toronto Police Service LRAD uses during the

2010 G8 and G20 Summits in Toronto, Canada; and (3) LRAD uses in connection with

Ferguson, Missouri protests related to the police killing of Mike Brown in late 2014.

        55.     Produce all documents regarding potential or actual LRAD purchases.

        56.     Produce all documents regarding funding and/or attempts to obtain

funding for LRAD purchases.




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        57.     Produce high-resolution, color digital photographs depicting each diagram

on the back panel of each LRAD model the NYPD has owned since 2003.

        58.     Produce all documents consisting of or reflecting research, tests, reports,

studies, technical documents, or any other documents regarding LRADs, LRAD uses,

LRAD safety, or health risks related to LRAD uses, including any such safety issues or

considerations or health risks related to causing discomfort and/or pain and/or potential

hearing damage.

        59.    Produce all documents reflecting health risks created by or associated with

loud noises NYPD officers are exposed to on the job, and related safety standards or

practices, including, but not limited to, gunshots, emergency vehicle sirens, sound

amplification devices, and LRADs.

       60.     Produce all documents reflecting complaints or claims made by NYPD

officers regarding injuries actually or allegedly sustained as a result of loud noises they

were allegedly exposed to while working as NYPD officers.

        61.    Produce documents sufficient to identifu each lawsuit brought by a NYPD

officer regarding any injury actually or allegedly sustained as a result of loud noises they

were allegedly exposed to while working as an NYPD officer.

       62.     Produce all Freedom of Information Law      ("FOIL") requests received by

the NYPD related to LRADs, as well as all documents produced in response to all such

FOIL requests, including, but not limited to, all such records related to Plaintiff Keegan

Stephan's 2012 and 2014 FOIL requests regarding LRADs, described in flll 95-98 of the

FAC.

       63.     Produce documents sufficient to identify:




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           a. All events in connection with which the NYPD deployed an LRAD or
                LRADs, including but not limited to, those described in the FAC; the
                December 12,2014letter attached as Exhibit B to the FAC; the DCU
                LRAD Briefing; and Defendants' initial disclosures.

           b. Each event in connection     with which the NYPD used an LRAD or LRADs
                to communicate a message or disseminate information or directions,
                including, but not limited to, protests or emergencies (such as terrorist
                attacks, weather emergencies, evacuation situations, hostage negotiations,
                standoffs with barricaded suspects, or other calamities); and

           c.   Each event in connection with which the NYPD utilized an LRAD's
                deterrenVarea denial/alarm/warning function, including, but not limited to,
                protests.

       64.      For each event identified in response to Interrogatbry No. 25 or the

previous document request, produce any documents summarizing the event or describing

or discussing the LRAD uses.

       65.      Produce all documents reflecting the NYPD policies, practices,

probedures, and training that were in effect in December of 2014 regarding:

           a.   Policing and/or managing protests andlor First Amendment assemblies
                (including "chaotic" or "disruptive" "obstructive" or "volatile" or
                "agitated" or "tumultuous" or "hostile" or "violent" or "potentially
                violent" or "escalating" protests andlor First Amendment assemblies);

           b. Crowd and/or disorder control and/or "public disturbance"     policing;

           c.   The intended conduct of officers present at an arrest scene with respect to
                securing the safety of the officer(s) involved in making the arrest(s),
                includi.ng, but not Iimited to, creating a safe perimeter around ongoing
                arrest scene at a protest and/or First Amendment assembly or other
                situation at which crowd and/or disorder control is necessary;

           d.   The intended conduct ofofficers present at a protest and/or First
                Amendment assembly or other situation at which crowd and/or disorder
                control is necessary such an arrest scene at which glass bottles or other
                objects are or may be thrown toward police (including so-called "air
                mail") with respect to preventing or responding to glass bottles or other
                objects thrown toward police;




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            e.   The rights of bystanders and observers to observe and/or document and/or
                 record officers making arrests and/or arrest-related activity being
                 conducted by uniformed officers in a public place;

            f.   The rights ofbystanders and observers to yell at and/or verbally protest
                 and/or yell epithets at and/or gesture toward officers making arrests and/or
                 arrest-related activity being conducted by uniformed officers in a public
                 place;

            g.   The need to have individualized and particularized justifications to use
                 force against an individual; or

            h.   The need to give a perceived group an order or direction and meaningful
                 oppoftunity to comply with it before using force against the perceived
                 group as a unit, including, but not limited to, before using force that may
                 or will impact more than one individual, such as by deploying pepper
                 spray or an LRAD at a perceived group.

        66.      Produce all documents reflecting contemplated or actual NYPD policies,

guidelines, or training, including any actual or proposed revisions to any such NYPD

policies, guidelines, or training, regarding

           a.    LRADs/LRAD uses;

           b.    The use of the so-called "deterrent" or "area denial" or "alarm" or "alert
                 tone" or'harning tone" function, including rate of fire of that function;

           c.    The intended direction of the LRAD. including "angling" or "pointing"
                 LRAD;

           d.    Maximum or minimum safe operational volume(s) for both loudspeaker
                 and deterrent/area denial functions:

           e.    Maximum or minimum safe operational distance(s) for both loudspeaker
                 and deterren I/ area denial functions;

           f.    Maximum safe operational duration(s) for both loudspeaker and
                 deterrent/area den ial functions:

           g.    Hearing protection recommended or required to be used during LRAD
                 operation;

           h.    The use of LRADs in the field at safe volume/intensity of sound, duration,
                 and/or proxim ityld i stance;



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           i.    Any other guidance regarding safe and/or effective LRAD use;

           j.    Documentation of LRAD uses;

           k.    Supervision of LRAD uses;

           l.    Evaluation of LRAD uses;

           m. That, how,    and when LRAD use counts as a use of force;

           n.    How the LRAD, qua use of force, fits into the use of force continuum,
                 including the NYPD's use of force guidelines and their reporting
                 requirements;

           o.    The use ofso-called "pepper spray";

           p.    The use of so-called "distraction devices" such as stun, flash-bnag, or
                 concussion grenades; and

           q.    The use ofso-called "tear gas".

       67.       Produce all NYPD Patrol Guide provisions, and training documents,

related to the use of force, or LRAD uses, that were in effect in December of 2014.

        68.      Produce all documents reflecting contemplated or actual NYPD policies,

guidelines, or training, including any actual or proposed revisions to any such NYPD

policies, guidelines, or training, regarding:

            a.   Use of force;

            b.   Use of force reporting;

            c.   Escalating force;

            d.   The force continuum;

            e.   De-escalation with respect to the use of force;

            f.   Use of force reporting and documentation;

            g.   Uses of force involving LRADs; and




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           h.   Uses of force involving

                i. Verbaldirections
                ii. Pushes and shoves
                iii.   Hand-to-hand "pain compliance techniques" or other hand-to-hand
                       physical tactics that can cause discomfort and/or pain including, but
                       not limited to, bending wrists, thumbs, and fingers backwards and
                       employing punches, and kicks
                iv.    Batons (wooden and metal)
                v.     So-called "distraction devices" such as stun, flash-bang, or concussion
                       grenades
                vi.    So-called "tear gas"
                vii. So-called "pepper spray"
                viii.     TASERs and other conducted energy weapons
                ix. Explosive devices
                x.     Deadly physical force

        69.     Produce all NYPD Patrol Guide provisions, and training documents,

related to the use of force, or LRAD uses, that were implemented after October 1,2015,

including, but not limited to, NYPD Patrol Guide Sections 221-01,221-02, and22l-03;

and the June 2016 "Use of Force: Revised       NYPD Policy" NYPD training document,        as


described in the FAC fln99-102.

       70.      Produce the complete personnel file for each Individual Defendant.

       71.      Produce the complete disciplinary file for each Individual Defendant,

including, but not limited to, all documents concerning internal police disciplinary action,

letters in the personnel file, command discipline A or B, charges and specifications,

transfers. and/or warnings and admonishment against any of the Individual Defendants

       72.      Produce the Central Personnel Index ("CPI"), Civilian Complaint Review

Board ("CCRB"), Internal Affairs Bureau        ("lAB"),   and lawsuit histories for each

individual Defendant, and all underlying records related to each complaint and/or

incident identified therein, including, but not limited to, Closing Reports and/or the

equivalent summaries related to each incident.



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        73.      Produce documents related to the Incident or the Individual Defendants

stored in the NYPD's Risk Assessment Information      Liability System ("RAILS")

database.

        74.      Product the NYPD Academy Transcript and any Training Logs or other

records reflecting the NYPD training each Defendant received at the NYPD Academy

and after graduating from the NYPD Academy.

        75.      Produce all documents received by the New York City Law Department

related to the Incident pursuant to subpoena or to any Plaintiff s authorization(s) or

Freedom of Information Law requests or otherwise, including, but not limited to, criminal

court files, DANY files, rap sheets, medical records, and all other records from any

source whatsoever, along with copies of the request(s) made by the Law Department        for

such documents; and all related correspondence.

        76.      Produce all documents consulted or relied on by the NYPD spokesman

who is quoted in the December 12,2074 New York Times article by Colin Moynihan

entitled Concerns Raised Over Shrill Device New York Police Used During Garner

Protest, as described   inl2l     of the FAC.

                                    DBMAI\D TO INSPECT

        77   .   Plaintiffs seek to inspect the LRAD 100x utilized on December 5,2014 in

connection with the Incident, or another LRAD 100x, if that LRAD l00x cannot be

identified or is not available.

        78.      Plaintiffs seek to inspect one of each other type of LRAD that the NYPD

has owned, including the make and modelthat was used in connection with the 2010

DCU LRAD tests that were performed at Orchard Beach in the Bronx.




                                                z.)
         79.    Plaintiffs seek to inspect the sound meter(s) that were used in connection

with the 2010 DCU LRAD tests that were performed at Orchard Beach in the Bronx, or a

NYPD sound meter of the same make and model.

Dated:          Ridgewood, NY
                October 14,2019

                                                             Very Truly Yours,




                                                             Elena L. Cohen
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